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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                     DELTA DIVISION

CHARLIE BRACKHAN                                                                                 PETITIONER
Reg #19304-026

v.                                           2:21CV00102-LPR

JOHN P YATES, Warden,                                                                          RESPONDENT
FCI Forrest City Low

                                                   ORDER

        The Court has reviewed the Proposed Findings and Recommended Disposition submitted

by United States Magistrate Judge Joe J. Volpe and Plaintiff=s Objections. After a careful and de

novo review of the PFDR, the Objections, and the entire record, the Court concludes the PFDR

should be, and hereby is, approved and adopted in its entirety as this Court's findings in all respects

except with respect to administrative exhaustion.                The Court does not need to reach the

administration exhaustion issue.1

        IT IS, THEREFORE, ORDERED that:

        1.       The Petition for Writ of Habeas Corpus (Doc. No.1) is dismissed.

        Dated this 3rd day of November 2021.



                                                             ________________________________
                                                             LEE P. RUDOSFKY
                                                             UNITED STATES DISTRICT JUDGE




1
  The Court’s decision does not preclude Mr. Brackhan from filing a properly-exhausted Bivens claim and, if
necessary, seeking emergency injunctive relief.

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